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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


In re                                       )

RMS TITANIC, INC., et al.,1                 )      Case No. 3:16-bk-2230-PMG

                       Debtors.             )      Chapter 11

___________________________________ )


         CREDITOR COMMITTEE’S OBJECTION TO EQUITY
   COMMITTEE’S EMERGENCY DERIVATIVE STANDING MOTION AND
     EMERGENCY APPLICATION TO EMPLOY SPECIAL COUNSEL


         The Official Committee of Unsecured Creditors (the “Creditors’ Committee”)

hereby objects to the (a) emergency motion of the Official Committee of Equity Security

Holders (the “Equity Committee”) for derivative standing to prosecute litigation on

behalf of the Debtors’ estates (the “Motion”), and (b) emergency application to employ

Robert Charbonneau and Agentis PLLC as special counsel to the Equity Committee,

pursuant to Bankruptcy Code section 327(e)2 (“Employment Application”), and

respectfully states:




         1
          The Debtors in these cases, along with the last four digits of their respective
federal tax identification numbers, are: RMS Titanic, Inc. (3162); Premier Exhibitions,
Inc. (4922); Premier Exhibitions Management, LLC (3101); Arts and Exhibitions
International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier
Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs
Unearthed Corp. (7309). The Debtors’ mailing address is 3045 Kingston Court, Suite I,
Peachtree Corners, Georgia 30071.
         2
          The Employment Application states that it is brought under section 327(a).
Proposed special counsel has agreed that any retention would appropriately be under
section 327(e).
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                                        Introduction


       1.      The marketing process for the sale of the Debtors’ assets pursuant to the

plan support agreement has been underway for over a year.3 To date that process has

failed to yield a complete sale transaction that would pay creditors in full, even though

this Court has long since entered judgment in the Debtors’ favor in the adversary

proceeding against the Republic of France. The Equity Committee now seeks authority

to prosecute a long-shot litigation that it wants creditors to fund, after wasting well over

$1 million in estate funds taking discovery and investigating potential claims. Until such

time as creditors are paid in full, or sufficient funds are secured by the Debtors’ estates to

pay creditors in full, the Equity Committee cannot be allowed to waste estate resources

on speculative litigation that has little chance of yielding significant recoveries.

       2.      Following receipt of the demand letter annexed to the Motion, the

Creditors’ Committee advised the Equity Committee that it had serious doubts

concerning the merits of the claims described therein, and that whether the Creditors’

Committee would oppose a derivative standing motion hinged largely on the Equity

Committee’s ability to prosecute the claims on a pure contingency basis, so the litigation

is not funded at creditors’ expense.       The Equity Committee advised the Creditors’

Committee that it was in the process of securing contingency counsel, and was still

exploring securing litigation financing to fund associated costs.

       3.      The Equity Committee has now made clear how it intends to fund costs in

its Employment Application. The proposed order annexed thereto provides:



       3
         The motion to approve a plan support agreement that contemplated the sale of
substantially all of the Debtors’ assets was filed May 18, 2017 [ECF No. 587].

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               If costs are incurred and advanced by Agentis, Agentis may
               seek reimbursement of those costs from the estate, or any
               source of payment there may be. If the costs remain
               unpaid, Agentis shall not be required to further advance
               costs. Agentis may also apply for compensation and
               reimbursement of costs, pursuant to 11 U.S.C. §§ 330 and
               331, at its ordinary rates, as they may be adjusted from time
               to time, for services rendered and costs incurred on behalf
               of the Equity Committee.[4]


         4.    That is unacceptable. The cost of a single damages expert could easily run

well into the seven figures in complex litigation, putting aside additional costs associated

with litigation such as transcription and travel costs. If derivative standing is granted and

the Employment Application is approved, creditors will be required to pay for those

expenses even if they significantly erode creditor recoveries and the litigation proves a

bust.

         5.    The Equity Committee’s response is simply that its proposed contingency

counsel should not be expected to advance costs. It is not uncommon, however, for

contingency counsel to do exactly that, particularly where, as here, serious reservations

regarding the subject claims have been expressed by estate fiduciaries.5 See also In re

STN Enters., 779 F.2d 901, 906 (2d Cir. 1985) (key inquiry is whether the “fee

arrangement [would] impose a net burden on the bankruptcy estate”); Point Serv. Corp. v.
         4
          The reference to applying for compensation at ordinary rates, as adjusted from
time to time, should be stricken. The Employment Application states employment is to
be on a contingency fee basis, pursuant to Bankruptcy Code section 328(a).
         5
            In In re Magnesium Corp. of Am., No. 01-14312 (Bankr. S.D.N.Y.), for
example, contingency counsel was required by the U.S. Trustee to advance costs without
interest as a condition to its employment, where the creditors’ committee concluded that
there did not appear to be a substantial likelihood that viable claims existed, and former
Bankruptcy Judge Robert E. Gerber stated in open court that the subject litigation was not
“by any means a slam dunk.” See Declaration of Leo R. Beus ¶¶11-15, annexed hereto as
Exhibit 1 (citing ECF No. 386 pp.63-66). The Creditors’ Committee has suggested that
proposed contingency counsel charge interest on costs advanced, or advance costs
without interest but raise its contingency fee. Those proposals were rejected.

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Pritchard Min. Co., No. 09-145, 2010 WL 1410673, at *5 (S.D. W. Va. Mar. 31, 2010)

(affirming decision granting derivative standing where plaintiff would “proceed at its

own expense”).

       6.      Significantly,   it   will be virtually impossible to       challenge the

reasonableness of costs incurred by proposed contingency counsel after-the-fact, when

counsel files its application(s) for compensation, because approval of its employment is

being sought under section 328(a). Employment terms approved under section 328(a)

can only be revisited if they “prove to have been improvident in light of developments

not capable of having been anticipated at the time of the fixing of such terms.” The

Creditors’ Committee presently believes approval of the proposed retention will prove

improvident given the inevitable costs associated with the litigation and the likelihood of

success on the subject claims.       Further, Bankruptcy Code section 330(a)(1), which

provides for “reimbursement for actual, necessary expenses,” by its terms is “subject to”

section 328. See also In re Smart World Techs., LLC, 552 F.3d 228, 233 (2d Cir. 2009)

(“Where the court pre-approves the terms and conditions of the retention under section

328(a), its power to amend those terms is severely constrained”).

       7.      The Equity Committee’s motivation for seeking derivative standing is

understandable, given the current posture of these cases. However, it has been in

possession of discovery on which the subject claims are premised for many months, and

had ample time to make appropriate arrangements for pursuing the claims for which it

seeks derivative standing.

       8.      It also makes no sense to force creditors to fund litigation controlled by

the Equity Committee unless and until creditors are paid in full. Official Comm. of

Equity Sec. Holders v. Adelphia Comm. Corp. (In re Adelphia Comm. Corp.), 371 B.R.


                                             4
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660, 673 (S.D.N.Y. 2007), aff’d, 544 F.3d 430 (2d Cir. 2008) (affirming bankruptcy court

decision withdrawing derivative standing previously conferred on equity committee

where equity was “out of the money,” and so the equity committee “would have an

inherent conflict of interest [with creditors] in controlling any litigation [because] given

the order of priority for recoveries, the Equity Committee would ‘always hav[e] the

incentive to do nothing but swing for the fences’”). Particularly given the extraordinary

amount spent by the Equity Committee to date on attorneys’ fees in these cases.6


                    Response to Stated Basis for Emergency Relief


       9.      The Equity Committee’s moving papers state emergency relief is needed

because the statutes of limitations for the subject claims “may expire as early as June 14,

2018,” and “the delay in bringing the Motion was engendered by the efforts of the Equity

Committee to include prosecution, and potential resolution of these claims within the

context of a Chapter 11 plan.” That explanation does not hold water. The Equity

Committee should have known it would not be able to confirm a plan that addressed

these claims at least two months before June 14, 2018 (i.e., mid-April), and should have

planned appropriately. There is also no reason why the subject motions could not be

heard at the June 7, 2018 hearing without prejudicing the Equity Committee.




       6
          To date, the Equity Committee’s attorneys’ fees alone have exceeded $1.5
million [ECF Nos. 495, 507, 658-59, 802, 806, 948-49]. That amount is astonishing,
given the posture of these cases and that the Debtors commenced these cases with
approximately $3 million in secured debt and $12 million in unsecured debt [ECF No. 8,
¶36]. The Creditors’ Committee’s attorneys’ fees run less than one-quarter that [ECF
Nos. 503-04, 576, 580, 762-63, 899, 909].

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                                           Argument


        I.       Legal Standard on Motion for Derivative Standing


        10.      A person seeking derivative standing bears the burden of proof on the

following elements: (a) the claim for which derivative standing is sought must be

colorable; (b) demand must have been made on the debtor to bring the claim; and (c) the

debtor must have unjustifiably refused to bring the claim. See, e.g., PW Enters., Inc. v.

N.D. Racing Comm’n (In re Racing Servs., Inc.), 540 F.3d 892, 898 (8th Cir. 2008).

        11.      A claim is considered colorable if it would survive a motion to dismiss.

Id.

        12.      To satisfy its burden on the unjustifiable refusal element, the person

seeking derivative standing “must provide the bankruptcy court with specific reasons

why it believes the trustee’s refusal is unjustified,” “supported by competent evidence,

for example, in the form of affidavits or through oral testimony at an evidentiary

hearing.”

Id. at 900; id. at n.8.

        13.      The court must then “perform a cost-benefit analysis” to determine if

refusal was justified. Id. (citing STN, 779 F.2d at 905).

        14.      In performing the analysis, “a court may consider the probability of

success in litigation, potential financial recovery, expenses which could be incurred, and

the delay in case administration.” In re Foster, 516 B.R. 537, 543 (B.A.P. 8th Cir. 2014)

(citing Racing Servs., 540 F.3d at 901).




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       II.    Derivative Standing Should be Denied as to the Insider Claims,
              Transfer Claims and Miscellaneous Claims


       15.    By the demand letter, the Equity Committee demanded that the Debtors

pursue claims described in the Motion as “D&O Claims.” (Motion ¶¶14-45.) By the

Motion, the Equity Committee seeks derivative standing to prosecute the D&O Claims

and three more categories of claims: “Insider Claims,” “Transfer Claims,” and

“Miscellaneous Claims.” These claims (together with the D&O Claims) are collectively

defined as “Estate Claims” and the proposed order annexed to the Motion would grant the

Equity Committee derivative standing to prosecute and settle the same. (Motion ¶47; id.

Ex. A, ¶2.) None of the Insider, Transfer, or Miscellaneous Claims are described in the

demand letter. Accordingly, derivative standing should be denied as to such claims. Nor

does the Motion allege facts on which said claims are premised. The sole question

properly before the Court on the Motion is whether derivative standing should be granted

with respect to the D&O Claims.


       III.   Derivative Standing Should be Denied as to D&O Claims


              A.      The Debtors Did Not Unjustifiably Refuse to Bring the
                      D&O Claims


       16.    The Debtors’ response to the Equity Committee’s demand letter gave two

reasons for declining to pursue the subject claims. First, the demand letter was not

accompanied by a draft complaint, making it difficult to evaluate if the claims are

colorable (i.e., satisfy plausibility requirements under Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007)). Second, derivative standing is not properly vested in the Equity

Committee based on the current posture of these cases, citing Adelphia, 371 B.R. at 673

(quoted above).
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       17.     The Motion does not explain why the Debtors’ position is unjustified. The

Equity Committee states a draft complaint is unnecessary because its demand letter and

the Motion are sufficiently detailed. (Motion ¶56.) That argument fails. See, e.g., In re

Bank United Fin. Corp., 442 B.R. 49, 53 (Bankr. S.D. Fla. 2010) (“without the benefit of

seeing an actual complaint, the Court was unwilling (and … unable) to determine

whether any or all claims asserted by the Committee were” colorable).

       18.     The Equity Committee also states derivative standing is properly

conferred upon it (as opposed to the Creditors’ Committee) because it “is prepared to

propose a plan which will result in recovery for equity holders,” and “believes the Estate

Claims will result in recovery, when coupled with other estate assets, which will enhance

distributions to equity.” (Motion ¶56.) No detail has been provided as to how creditors

would be paid in full under the Equity Committee’s plan other than through this litigation

and the sale of the Debtors’ assets. “Naked assertions” such as this are insufficient to

satisfy the Equity Committee’s burden on the unjustifiable refusal element. Racing

Servs., 540 F.3d at 901 (citing STN Enters., 779 F.2d at 905).


               B.     Derivative Standing Should be Denied with Respect to
                      the Armada Claims


       19.     Derivative standing should be denied with respect to the so-called Armada

claims, because the subject claims are either not colorable, or the requisite cost-benefit

analysis weighs against granting derivative standing, as described below. Significantly,

these are not even the type of claims for which derivative standing is generally

considered appropriate, such as where a debtor is unwilling to sue current management,

as the sole litigation targets presently associated with the Debtors are their current

independent directors (Richard Kraniak and Douglas Banker), and the remaining

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litigation targets have long since dissociated from the Debtors. That the Debtors remain

unwilling to pursue these claims speaks volumes.


                        1.   Breach of Duty of Loyalty Claims


       20.     The Equity Committee seeks derivative standing to prosecute breach of

duty of loyalty claims against former directors Mark Sellers and Samuel Weiser, and the

balance of the board of directors prior to the merger with DinoKing, and as reconstituted

in August 2014, for pursuing or approving a sale of a 31.5% equity stake in the Debtors

owned by Sellers Capital, LLC (“Sellers Capital Shares”), an entity managed by Mark

Sellers and Samuel Weiser, while potential merger deals with Armada and DinoKing

were under discussion.

       21.     According to the Equity Committee, this harmed the Debtors because they

rejected “potentially beneficial loans” (the Brevet and Twin Haven loans), so the Sellers

Capital Shares could be sold while the Debtors had a clean balance sheet, which resulted

in the Debtors having to incur “onerous” alternative financing several months later

(the Pentwater loan).

       22.     The damages suffered by the Debtors—a necessary element of a breach of

fiduciary duty claim—are questionable, at best.      The sole reason offered why the

Pentwater loan was onerous but other loans were not, is because the former was a bridge

loan with a six-month term, whereas the others had a three-year term. (Motion ¶28.) Six

months ultimately proved sufficient to obtain replacement financing in the form of a

convertible loan extended in connection with the Debtors’ subsequent merger with

DinoKing. The Equity Committee offers no explanation why the Debtors would be any




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better off had they incurred the Brevet or Twin Haven loans. At a minimum, proving

damages will require expensive expert testimony.

       23.     The Equity Committee also states that prioritizing the sale of the Sellers

Capital Shares interfered with negotiations with DinoKing (id. ¶30), the Debtors’

eventual merger partner. However, the Motion does not explain how said interference

damaged the Debtors, other than by delaying the merger (discussed below).

       24.     The Equity Committee states that the appropriate measure of damages for

prioritizing the sale of the Sellers Capital Shares over consummating a merger is the

profit that resulted from the alleged loyalty breach. (Motion ¶32.) That profit is illusory.

Sellers Capital ultimately entered into a Stock Purchase Agreement, dated October 15,

2014 (“SPA”), under which it agreed to sell the Sellers Capital Shares to Armada for

$16.2 million, which is $1.05/share prior to the 1:10 split effected February 2015, or an

adjusted value of $10.50/share.       Armada defaulted under the SPA without having

purchased the Sellers Capital Shares, however, and on August 31, 2015, Sellers Capital

commenced an action against Armada for breach of the same.                  That action was

subsequently settled on terms whereby Armada agreed to make payments to Sellers

Capital; however, Armada defaulted on the first payment due under the settlement,

resulting in entry of a $6 million judgment against it, a copy of which is annexed hereto

as Exhibit 2. That judgment is still unpaid, and its collectability is questionable at best.7




       7
          A quick Google search reveals that Armada and its principal, George Wight,
have repeatedly defaulted on obligations taken on to pay cash or procure financing in
business deals. Their projects have also been linked in media reports to recognized
securities fraudsters. See Nathan Vardi, “The $2.4 Billion Nasdaq Stock Headquartered
in Apartment 2A,” Forbes.com (June 13, 2017).

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                      2.      Damages from Delayed Merger


       25.     On April 2, 2015, roughly five months after the SPA and four months after

Armada’s default thereunder, the Debtors entered into a merger agreement with

DinoKing. The Equity Committee asserts that the Debtors suffered damages which they

are entitled to recover because the Debtors’ share price dropped between January 2014

and November 2015, when the merger ultimately closed, citing In re Chira, 353 B.R.

693, 729 (S.D. Fla. 2006). (Motion ¶34.)

       26.     Significantly, this is not an independent claim, but a measure of damages

for the breach of fiduciary duty claims.      The Equity Committee, however, has not

articulated how delay resulted in damages. The DinoKing merger was a stock-for-stock

transaction, coupled with a convertible rescue loan.8 Neither the demand letter nor the

Motion states how the merger consideration paid by the Debtors for DinoKing would

have been lower had that transaction, or any alternative transaction under consideration,

closed sooner, despite having taken discovery on this issue. Chira is also inapposite.9




       8
        A full copy of the merger agreement is annexed to the Debtors’ Form 8-K, filed
April 8, 2015. The merger terms are summarized in the Debtors’ press release
announcing the merger, an SEC-filed copy of which is annexed hereto as Exhibit 3.
       9
         In Chira damages were awarded to compensate the chapter 7 debtor (a divorced
husband) for the reduction in the value of his equity in a hotel property he and his ex-wife
co-owned, which reduction resulted from his ex-wife’s misconduct. 353 B.R. at 729.
Here, there is no diminution in value to estate property, just alleged diminution in the
value of equity interests in the Debtors resulting from a delayed stock-for-stock merger.
Further, damages awarded in Chira were amounts attributable to the ex-wife’s
misconduct (e.g., attorneys’ fees, management charges), whereas here damages resulting
from delay, if any, would be extremely difficult to measure. Id.

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                      3.      Usurpation of Corporate Authority


       27.     The Equity Committee states that the Debtors have a cause of action for

usurpation of a corporate authority against Mark Sellers and Samuel Weiser, because

Sellers Capital (which they managed) agreed to sell the Sellers Capital Shares to Armada

even though the Debtors had previously commenced negotiations with Armada

concerning a stock-for-stock merger transaction. (Motion ¶36.)

       28.     That claim is not colorable. A corporate opportunity claim fails where, as

here, the alleged usurping party has a blocking position:


               CERBCO … preclude[s] a plaintiff from claiming that a
               corporate opportunity has been usurped where the majority
               shareholder could have blocked the transaction in any
               event. This is so because no “interest or expectation” fairly
               belonged to the corporation since the majority could block
               the transaction at any time.

                                      In re Digex Inc. S’holders Litig., 789
                                      A.2d 1176, 1191 (Del. Ch. 2000).


       29.     That Sellers Capital had a blocking position is evidenced by its having

caused the reconstitution of the board of directors after the board rejected a request to

approve a sale of the Sellers Capital Shares to KOP in August 2014. (Motion ¶23.)

       30.     Even if the corporate opportunity claim survived a motion to dismiss,

damages would be premised on the theory that a stock-for-stock merger with Armada

would have resulted in a successful business combination. That theory is speculative, at

best, given Armada’s track record. (See Footnote 7, supra.)




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                        4.    Aiding and Abetting Claims


       31.     The Equity Committee states to the extent it has viable breach of fiduciary

duty claims against Mark Sellers and Samuel Weiser, the Debtors can bring aiding and

abetting claims against Sellers Capital. (Motion ¶37.) Putting aside issues with the

breach of fiduciary duty claims and the associated damages theory (discussed above), the

value of any potential judgment against Sellers Capital is far from obvious, as Sellers

Capital liquidated beginning September 2008, when Mark Sellers retired from the hedge

fund business. See Kaja Whitehouse, “Tiger Cubs Meow During September,” New York

Post (Oct. 10, 2008).


               C.       Derivative Standing Should be Denied with Respect to
                        the Merger and Restatement Claims


       32.     The Equity Committee states the Debtors have breach of fiduciary duty

claims against Daoping Bao because DinoKing’s financials had to be restated post-

merger, on April 11, 2016. (Motion ¶41.) According to the Equity Committee, Daoping

Bao breached his fiduciary duty by failing to disclose accounting issues, and then fighting

a restatement when the issue was raised post-merger. (Id. ¶40.)            This claim is

questionable, to the extent colorable. As noted above, the DinoKing merger was a stock-

for-stock transaction, coupled with a convertible rescue loan.         The only persons

conceivably harmed by the above conduct are those who held shares prior to the

disclosures, and who are not aligned with DinoKing. (Id. ¶45.) To the extent those




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shareholders still hold shares, their value is questionable, at best, given the posture of

these cases.10


       IV.       The Employment Application Should be Denied


       33.       By the Employment Application, the Equity Committee seeks to employ

special counsel to prosecute and settle so-called Estate Claims on behalf of the Debtors’

estates. Naturally, if the Equity Committee is denied derivative standing to bring said

claims, the Employment Application should be denied.


                                       Conclusion


       The Equity Committee states that it filed the Motion to “yield significant value

for” and “protect unsecured creditors.” (Motion pp.2-4.) By failing to secure contingency

counsel willing to advance the significant costs that would inevitably be incurred in

prosecuting the claims for which derivative standing is sought, or litigation financing to

cover said costs, the contemplated litigation risks becoming yet another major cost center

in these cases, which creditors do not wish to fund. The Motion and Employment

Application should therefore be denied. Alternatively, the Equity Committee should be




       10
          The Equity Committee further asserts that Daoping Bao breached his duty of
loyalty by engaging in an intentional violation of law (Motion ¶44), but does not assert
what law was violated, let alone plead damages.

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directed to file a draft Complaint and consideration of the Motion and Employment

Application should be deferred until the June 7, 2018 hearing.

       Dated: May 21, 2018                          Jeffrey Chubak (admitted pro hac vice)
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                                                    - and -

                                                    THAMES MARKEY & HEEKIN, P.A.

                                                              /s/ Richard R. Thames
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                                                    of Unsecured Creditors




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                                   Certificate of Service


       I hereby certify that on May 21, 2018, the foregoing pleading was transmitted to

the Clerk of the Court for uploading to the Case Management/Electronic Case Files

System, which will send a notice of electronic filing to all parties who have consented to

receiving electronic notifications in this case.



                                                     /s/ Richard R. Thames
                                               ________________________________
                                                             Attorney




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            Exhibit “1”
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              Doc 935 Filed 12/13/17
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                               Chapter 7

 MAGNESIUM CORPORATION OF                             Case No. 01-14312 (MKV)
 AMERICA, et al.,
                                                      (Jointly Administered)
                         Debtors.

                                DECLARATION OF LEO R. BEUS

          I, Leo R. Beus, declare:

          1.     I am attorney at law, admitted to practice in the State of Arizona. I submit this

 declaration in support of the final application of Beus Gilbert PLLC (“Beus Gilbert”) for

 allowance of compensation, filed contemporaneously herewith. I have personal knowledge of

 the facts set forth herein and, if called as a witness, could and would testify competently to the

 following.

 I.       EXPERIENCE IN BANKRUPTCY CASES

          2.     I was first admitted to practice in 1971, and have been continuously practicing

 law for 46 years. I am the senior member of Beus Gilbert, located in Phoenix, Arizona.

          3.     During my many years as a practicing attorney, I have represented numerous

 bankruptcy trustees in adversary proceedings, including in the following cases:

                    Bonneville-Pacific (Utah)

                    Boston Chicken, Inc. (Arizona)

                    Crown Paper (California)

                    Farmland Dairies (New York)

                    Flooring America (Georgia)

                    Keller Financial (Florida)
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                   Parmalat (New York)

                   Roadmaster, LLC (Georgia)

                   SPhinX (part of Refco bankruptcy) (New York)

                   United Companies (Louisiana)

                   Vesta (Alabama, Texas)

        4.      In these cases, Beus Gilbert obtained settlements and/or judgments totaling more

 than $1 billion for the debtors’ respective estates.

        5.      In every case in which Beus Gilbert represented bankruptcy trustees, I have

 always insisted that the firm’s fee arrangement with the trustee be approved before Beus Gilbert

 undertakes the litigation. My practice has been that if I do not obtain prior bankruptcy court

 approval of Beus Gilbert’s representation—and the approval of our fee arrangement with the

 trustee—I will not undertake the representation.

        6.      Invariably, these cases involved a lengthy representation, with complex legal and

 factual issues and extreme risk for the firm. These cases have typically involved hotly contested

 legal and factual issues, extensive motion practice, millions of pages of documents, extensive

 discovery involving dozens of depositions and, in some cases, over a dozen experts. The

 defendants have been large law firms, accounting firms, investment banks, corporations, and

 directors and officers. They have always been represented by national, prestigious law firms.

 And, prestigious law firms represented the defendants in the litigation for which Beus Gilbert

 was employed herein.

 II.    BEUS GILBERT’S RETENTION

        7.      These cases were originally commenced as voluntary chapter 11 cases on August

 2, 2001.


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        8.      I was first approached to serve as litigation counsel in September 2002 by Citadel

 Investment Group, a senior noteholder.

        9.      Lee E. Buchwald was appointed chapter 11 trustee for the Debtors’ estates by

 order, entered April 14, 2003, and was subsequently appointed chapter 7 trustee by order, entered

 September 24, 2003 (the “Trustee”).

        10.     On his appointment, I immediately began discussions with the Trustee and his

 bankruptcy counsel, Nicholas F. Kajon, regarding the terms under which Beus Gilbert would

 consider undertaking the representation.

        11.     From the outset, I knew this would be a difficult undertaking for the firm. First,

 two national law firms—Willkie, Farr & Gallagher LLP and Chapman & Cutler LLP,

 representing an ad hoc noteholder group and the Creditors’ Committee, respectively—concluded

 that there did not appear to be a substantial likelihood viable claims existed against the Debtors’

 parent, The Renco Group, Inc. (“Renco Group”), or its affiliates. Second, Judge Robert E.

 Gerber, then presiding over the Debtors’ chapter 11 cases, expressed grave reservations about the

 litigation, stating in open court that the action was not “by any means [a] slam dunk,” and that he

 would “almost certainly not approve any legal fees for either litigating or even investigating

 those claims, unless they are on a contingent fee basis.”

        12.     Nevertheless, despite the conclusions of Willkie Farr and Chapman & Cutler, as

 well as the reservations of Judge Gerber, I decided to undertake the representation.            In

 undertaking this representation, I was also well aware the Trustee had not been successful in

 securing the agreement of any other firm to pursue this litigation, which he acknowledged in his

 application to employ Beus Gilbert.




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         13.    During the summer of 2003, the Trustee and I made significant efforts to secure

 everyone’s approval of his retention of Beus Gilbert on a contingency fee basis. We had no

 difficulty in securing the agreement of the ad hoc noteholder group, by value, the largest creditor

 group, and the Beus Gilbert retention application acknowledged their support of the engagement.

         14.    Securing the approval of the United States Trustee was more difficult. We first

 contacted that office in June 2003, at which time we presented our standard Legal Representation

 Agreement (“LRA”) for consideration. The United States Trustee required several changes.

         15.    Although we were able to accommodate the United States Trustee with respect to

 the vast majority of the proposed changes, the United States Trustee was absolutely inflexible on

 one point that posed a problem for me: not only must Beus Gilbert pay all costs and expenses

 incurred in prosecuting the litigation (these would be substantial, exceeding $2.1 million), but we

 must also remove our standard provision that, if we were successful in the litigation, interest

 must be paid on unpaid balances for costs and expenses, even though we agreed that if there was

 no recovery, expenses need not be paid by the estates. This last point represented a big problem

 for me because it resulted in Beus Gilbert not only funding the litigation over the course of many

 years, but also advancing all the expenses and costs incurred in prosecuting the case, without

 interest.

         16.    This last point proved such a significant issue that I personally met with Carolyn

 S. Schwartz, then the United States Trustee in this district. Ms. Schwartz was adamant: she

 would not agree to the Trustee’s retention of Beus Gilbert unless the LRA’s provision for the

 payment of interest on unpaid costs was removed.            But, Ms. Schwartz volunteered an

 alternative—the United States Trustee’s Office would approve the retention if Beus Gilbert

 removed the interest provision and instead increased its contingency fee percentages upon


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 settlement (33-1/3%) or verdict/judgment (40%) by one percentage point. Although this change

 obviously shifted additional risk to Beus Gilbert, I agreed.

         17.    On July 11, 2003, Beus Gilbert sent the United States Trustee’s Office a revised

 LRA which reflected that important change. The other changes demanded were so numerous

 that, rather than submit a redlined version of the LRA to the United States Trustee, we prepared

 an entirely new version that incorporated the many changes required by it. (July 11, 2003 Letter

 to Brian Masumoto, annexed hereto as Exhibit 1.)

         18.    Eventually, when Beus Gilbert’s retention under the revised LRA was approved

 in October 2003, the Trustee’s counsel was able to report to the Court that “Mr. Masumoto has

 advised that the United States Trustee has no objection to the form of the order” retaining Beus

 Gilbert. (October 30, 2003 Letter to Judge Gerber, annexed hereto as Exhibit 2.)

         19.    Although the Trustee had now secured the approval of the ad hoc noteholder

 group and the United States Trustee of the terms of Beus Gilbert's LRA, I nevertheless

 anticipated objections from the Renco Group, which was expected, as it was a litigation target.

         20.    Meanwhile, the Trustee was facing a critical deadline—the running of the statute

 of limitations under Bankruptcy Code section 546. Therefore, even though Beus Gilbert had not

 yet been retained, on July 31, 2003, on behalf of the Trustee, Beus Gilbert filed its adversary

 complaint in the Bankruptcy Court, naming as defendants, Renco Group, certain of its affiliates,

 and various individuals and professional firms previously retained by the Debtors. Despite filing

 this complaint (to prevent the claims from being time-barred) I made clear to the Trustee—and it

 was stated in the LRA (§ 3.1)—that should the Bankruptcy Court not approve the LRA in

 accordance with its terms and provisions, Beus Gilbert reserved the right to withdraw from the

 litigation.


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        21.     On September 3, 2003, the Trustee filed his application to retain Beus Gilbert, on

 terms set forth in the LRA, which was annexed to the application as an exhibit. The application

 also specified the exact percentages which would be paid to Beus Gilbert in the event of a

 recovery, and further specified that it was seeking approval of compensation terms under

 Bankruptcy Code section 328(a).

        22.     Judge Gerber approved Beus Gilbert’s retention, over the objection of Renco

 Group, and entered an order approving the retention on October 31, 2003, following a hearing

 held four days prior.

 III.   THE PRIOR INTERIM FEE APPLICATION

        23.     In 2005, the Trustee negotiated a settlement with two defendants in the adversary

 proceeding, Keith Sabel and K. Sabel Holdings, Inc., for a total of $75,000. The settlement was

 approved pursuant to Rule 9019, by order, entered July 18, 2005.

        24.     On February 16, 2006, Beus Gilbert applied for an interim fee award of

 $25,749.75, or 34-1/3% of any settlement reached after 90 days following the date of the LRA,

 pursuant to the terms of the agreement, which was annexed to the application.

        25.     No party objected to Beus Gilbert’s interim fee application, or its right to

 compensation in accordance with the terms of the LRA, and an order granting Beus Gilbert the

 requested interim fee award was entered on May 12, 2006.

 IV.    ADMINISTRATIVE MATTERS

        26.     Typically, it is Beus Gilbert’s practice not to prepare detailed monthly billing

 statements in cases undertaken on a contingency fee basis. However, in this case, each Beus

 Gilbert attorney and employee who worked in the case recorded their time and submitted it to the

 firm’s accounting department at the end of every month. Those time records, which are annexed


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 to the accompanying final fee application as Exhibit 4, and are summarized in the summary sheet

 preceding the application, reflect that from September 2002—when Beus Gilbert commenced

 working on the action—through July 2017, Beus Gilbert employees expended approximately

 55,000 hours on the action, and that the total value of Beus Gilbert’s services, calculated on an

 hourly rate basis, was approximately $14.9 million.

        I declare under penalty of perjury that the foregoing is true and correct.

 Executed on December 13, 2017.

                                                       /s/ Leo R. Beus




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            Exhibit “3”
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  EX-99.1 2 exh_991.htm EXHIBIT 99.1

                                                                                                                         EXHIBIT 99.1

      Premier Exhibitions, Inc. Enters Into Definitive Merger Agreement to Combine With
                                       Dinoking Tech Inc.

               An Investor Group Will Invest Up to $13.5 Million in Premier as Part of the Transaction

  ATLANTA, April 2, 2015 (GLOBE NEWSWIRE) -- Premier Exhibitions, Inc. (Nasdaq:PRXI), a leading
  provider of museum-quality touring exhibitions around the world ("Premier" or the "Company"), today
  announced that it has entered into a definitive merger agreement ("Merger Agreement") whereby it will combine
  with Dinoking Tech Inc. ("DK"). Under the Merger Agreement, the DK shareholders will be entitled to up to
  24% of the fully diluted ownership of the Company for all of the issued and outstanding shares of DK. In
  addition, an Investor Group will provide up to $13.5 million in funding to Premier to repay $8 million of
  existing debt and $5.5 million for corporate purposes including the completion of the development of "Saturday
  Night Live: The Exhibition" and "Premier on 5th", the Company's state-of-the-art exhibition and special events
  center located in New York City. The transaction has been approved by the Board of Directors of Premier.
  Premier's principal shareholder, Sellers Capital, as well as the directors and officers of the Company have
  entered into agreements to vote in favor of the transaction. The completion of the transaction is subject to
  Premier shareholder approval among other customary closing conditions. The merger is expected to be
  completed in August 2015.

  Dinoking Tech Inc., based in Richmond, British Columbia, Canada, is the holding company of Dinosaurs
  Unearthed, an industry-leading traveling exhibition company with a range of indoor and outdoor exhibition
  experiences designed to engage and entertain audiences. Current exhibitions include Dinosaurs Alive!,
  Dinosaurs Unearthed, Extreme Dinosaurs, Xtreme BUGS!, and, to be launched in June 2015 in Australia,
  Creatures of the Deep.

  Strategic Benefits of the Transaction

            Further strengthens Premier's leadership position as the dominant global exhibition provider by combining
            a number of extremely successful brands
            Leverages DK's existing infrastructure and relationships to expand presence in Asia and other markets
            Provides financing solutions allowing the Company to focus on growth and revenue and content
            diversification
            Broadens strong operational expertise with a combined management team with a track record of bringing
            successful and innovative content to market

  Mark Sellers, board member and managing member of Sellers Capital, Premier's largest shareholder, said, "By
  combining Premier's assets with DK's, we've created a stronger company with the scope and capabilities to
  leverage long-term growth opportunities in the marketplace, including Asia. Daoping Bao has a track record of
  success and fiscal discipline in the exhibition business and we're excited to have him oversee the combined
  company. With the infusion of growth capital, Premier's core operating business will finally be stabilized and we
  can focus on further leveraging existing content by bringing our exhibitions, as well as new content, to
  previously untapped markets throughout the world. I'm excited about the growth opportunities this merger
  presents."

  "As leaders in the industry, Premier and DK will seek to leverage the combined brand portfolio and capitalize on
  the significant global opportunities inherent in this transaction. We look to expand our footprint globally,
  especially in Asia, where we believe there are opportunities for our combined entity to deliver world class
  exhibitions and other new content," said Daoping Bao, Founder and President of DK.

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  Summary of Merger Agreement

  Under the terms of the agreement, Premier will acquire all outstanding shares of DK, of which Daoping Bao is
  the principal shareholder, for a total consideration of US$6.4 million payable in Premier shares or shares
  exchangeable for Premier shares at transaction close. Premier has also agreed to future contingent payments to
  the DK shareholders of up to US$8.6 million payable in either cash or stock if certain milestones are reached. In
  addition, an Investor Group will invest up to $13.5 million in Premier through convertible debentures carrying
  an interest rate of 12% per annum and a conversion price of $4.48 per share. The conversion price represents a
  premium of approximately 38.5 percent and 32.4 percent to Premier's volume weighted average price for the
  trailing 30 days and 60 days, respectively. The merger and conversion of the debenture is subject to shareholder
  approval and expected to take place at the closing of the deal.

  Upon the signing of the Merger Agreement, $8.0 million of the proceeds will be used to repay the existing $8.0
  million Secured Promissory Note and Guarantee entered into with two affiliates of Pentwater Capital
  Management LP on September 30, 2014. The remaining $5.5 million will be provided through subsequent
  capital drawdowns and be primarily used to complete Premier's current development projects and to fund
  working capital requirements.

  Upon the closing of the transaction, the DK shareholders and the Investor Group will hold 47.0% of the
  outstanding Premier voting shares, subject to additional contingent payments, and the right to nominate four out
  of seven board members. Mr. Bao will become the Executive Chairman, President and Chief Executive Officer
  of Premier while DK will become an indirect wholly-owned subsidiary.

  Thompson Hine LLP and Gowling Lafleur Henderson LLP served as legal counsel to Premier and DK was
  represented by Dentons in both Canada and the U.S..

  Conference Call for Investors

  The Company will hold a conference call with investors at 12:00 pm EDT on Wednesday, April 8, 2015 to
  further discuss the transaction. U.S. and Canadian participants may dial toll-free: (888) 556-4997; International
  participants may dial toll: 719-325-2494. Please ask for conference ID: 5798810

  About Premier Exhibitions, Inc.

  Premier Exhibitions, Inc. (Nasdaq:PRXI), located in Atlanta, GA, is a major provider of museum quality
  exhibitions throughout the world and a recognized leader in developing and displaying unique exhibitions for
  education and entertainment. The Company's exhibitions present unique opportunities to experience compelling
  stories using authentic objects and artifacts in diverse environments. Exhibitions are presented in museums,
  exhibition centers and other entertainment venues.

  Additional information about Premier Exhibitions, Inc. is available at www.prxi.com.

  About Dinoking Tech Inc.

  Dinoking Tech Inc. is a holding company operating under the name Dinosaurs Unearthed. Dinosaurs Unearthed,
  located in Richmond, British Columbia, Canada, is an industry-leading traveling exhibition company with a
  range of exhibition products designed and developed by its creative and innovative team of experts and scientific
  advisors. Exhibition products include Dinosaurs Unearthed, Dinosaurs Alive!, Extreme Dinosaurs, Xtreme
  BUGS! and, soon to be launched in June 2015, Creatures of the Deep. The company creates outstanding
  immersive guest experiences that are engaging, entertaining and grounded in current science. Since the
  company's launch in 2007, exhibitions have opened to great success throughout North America, Australia, Asia,
  Europe and the Middle East, inspiring millions of guests in museums, science centers, zoos, amusement parks
  and other unique venues.

  Additional information about Dinosaurs Unearthed is available at www.dinosaursunearthed.com.

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  Forward Looking Statements

  This press release may contain forward-looking statements within the meaning of the Private Securities
  Litigation Reform Act of 1995 that involve certain risks and uncertainties. The actual results or outcomes of
  Premier Exhibitions, Inc. may differ materially from those anticipated. Although Premier Exhibitions, Inc.
  believes that the assumptions underlying the forward-looking statements contained herein are reasonable, any
  such assumptions could prove to be inaccurate. Therefore, Premier Exhibitions, Inc. can provide no assurance
  that any of the forward-looking statements contained in this press release will prove to be accurate.

  In light of the significant uncertainties and risks inherent in the forward-looking statements included in this press
  release, such information should not be regarded as a representation by Premier Exhibitions, Inc. that its
  objectives or plans will be achieved. Included in these uncertainties and risks are, among other things,
  fluctuations in operating results, general economic conditions, uncertainty regarding the results of certain legal
  proceedings and competition. Forward-looking statements consist of statements other than a recitation of
  historical fact and can be identified by the use of forward-looking terminology such as "may," "intend,"
  "expect," "will," "anticipate," "estimate" or "continue" or the negatives thereof or other variations thereon or
  comparable terminology. Because they are forward-looking, such statements should be evaluated in light of
  important risk factors and uncertainties. These risk factors and uncertainties are more fully described in Premier
  Exhibitions, Inc. most recent Annual and Quarterly Reports filed with the Securities and Exchange Commission,
  including under the heading entitled "Risk Factors." Premier Exhibitions, Inc. does not undertake an obligation
  to update publicly any of its forward-looking statements, whether as a result of new information, future events or
  otherwise, except as required by law.

  Additional Information about the Merger Agreement and Where to Find It

  Premier Exhibitions, Inc. intends to file with the Securities and Exchange Commission (SEC) a preliminary
  proxy statement in connection with the proposed business combination and will mail a definitive proxy
  statement and other relevant documents to its shareholders. This press release does not contain all the
  information that should be considered concerning the business combination. It is not intended to provide the
  basis for any investment decision or any other decision in respect to the proposed business combination. Premier
  Exhibitions, Inc.'s shareholders and other interested persons are advised to read, when available, the preliminary
  proxy statement, the amendments thereto, and the definitive proxy statement in connection with Premier
  Exhibitions, Inc.'s solicitation of proxies for the special meeting to be held to approve the business combination,
  as these materials will contain important information about Premier Exhibitions, Inc. and Dinoking Tech Inc.
  and the proposed business combination.

  The definitive proxy statement will be mailed to shareholders of Premier Exhibitions, Inc. as of a record date to
  be established for voting on the business combination. Shareholders will also be able to obtain copies of the
  proxy statement, without charge, once available, at the SEC's Internet site at http://www.sec.gov, or by directing
  a request to: Premier Exhibitions, Inc., 3340 Peachtree Road, NE, Suite 900, Atlanta, GA 30326, attention:
  Michael Little.

  Participants in the Solicitation

  Premier Exhibitions, Inc. and its directors and officers may be deemed participants in the solicitation of proxies
  to Premier's shareholders with respect to the transaction. A list of the names of those directors and officers and a
  description of their interests in Premier is contained in Premier's proxy statement that was filed with the SEC on
  January 16, 2015 and will also be contained in the proxy statement for the proposed business combination when
  available.
  CONTACT: Investor Contact:

              Michael J. Little
              Interim President and Chief Executive Officer
              Chief Financial Officer and Chief Operating Officer
              (404) 842-2600
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